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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 JOSHUA BATTLES,

                     Plaintiff,

 v.                                                 Case No: 6:25-cv-917-RBD-DCI

 AMERICREDIT FINANCIAL
 SERVICES, INC.; and EXPERIAN
 INFORMATION SOLUTIONS INC.,

                     Defendants.


                                       ORDER

       For a just and efficient resolution of this case, the parties are DIRECTED to

 read and comply with the Middle District of Florida’s Local Rules. See Local Rule

 1.01(a). While not exhaustive, this Order establishes deadlines for filings required

 at the initial stages of an action.

       This Court makes an active effort to review each case to identify parties and

 interested corporations in which the assigned District Judge or Magistrate Judge

 may have an interest, and for other matters that might require consideration of

 recusal. Compliant with Local Rule 3.03, within fourteen (14) days from the day

 of this Order or, if a party joins this action subsequent to the entry of this Order,

 from the date of a party’s first appearance, each party, pro se party, governmental

 party, intervenor, non-party movant, and Rule 69 garnishee is DIRECTED to file

 and serve a Certificate of Interested Persons and Corporate Disclosure Statement
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 substantially in the form attached. 1 Each party has a continuing obligation to file

 and serve an amended certificate within fourteen (14) days of discovering any

 ground for amendment, for conflict of interest, for recusal, or for disqualification

 of the judicial officer. See Local Rule 3.03.

        No later than fourteen (14) days from the date of this Order, counsel and

  any pro se party shall comply with Local Rule 1.07(c) and shall file and serve a

  certification if the instant action should be designated as a similar or successive

  case pursuant to Local Rule 1.07. The parties shall utilize the attached form titled

  Notice of Pendency of Other Actions.

        The parties are DIRECTED to consult Local Rule 3.02 to determine

  whether this action requires a case management conference and case

  management report (CMR), or if it falls under one of the exceptions listed in Local

  Rule 3.02(d). If a CMR is required, utilization of the attached CMR form is

  mandatory. The CMR must be filed (1) within forty days after any defendant

  appears in an action originating in this court, (2) within forty days after the

  docketing of an action removed or transferred to this court, or (3) within seventy

  days after service on the United States attorney in an action against the United

  States, its agencies or employees. Judges may have a special CMR form for




       1 No party may seek discovery from any source before filing and serving a

 Certificate of Interested Persons and Corporate Disclosure Statement. A motion,
 memorandum, response, or other paper (including emergency motions) may be
 denied or stricken unless the filing party has previously filed and served a
 Certificate of Interested Persons and Corporate Disclosure Statement.
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  certain types of cases listed in Local Rule 3.02(d). These forms can be found at

  www.flmd.uscourts.gov under the Forms tab for each judge.

         The parties are reminded to review Local Rule 3.01(g) before filing any

 motion practice in this case. Unless a motion is exempted under Local Rule 3.01(g),

 the moving party shall engage in a substantive conversation with the opposing

 party—in person or by telephone—in a good-faith effort to resolve the issues

 raised by the motion without Court intervention; the duty to confer is not

 satisfied by emails or other written correspondence. Any Local Rule 3.01(g)

 certification for an opposed motion that does not state the appropriate means of

 conferral will be summarily denied without prejudice.

         DONE AND ORDERED in Chambers in Orlando, Florida, on June 2,
 2025.




 Copies to:
 Counsel of Record
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 JOSHUA BATTLES,

                      Plaintiff,

 v.                                                   Case No: 6:25-cv-917-RBD-DCI

 AMERICREDIT FINANCIAL
 SERVICES, INC.; and EXPERIAN
 INFORMATION SOLUTIONS INC.,

                      Defendants.


                      DISCLOSURE STATEMENT PURSUANT TO
             FEDERAL RULE OF CIVIL PROCEDURE 7.1 AND LOCAL RULE 3.03


      Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.03, enter
 name of filing party/intervenor, makes the following disclosure(s).


      1. If the filer is a nongovernmental corporate party or a nongovernmental
         corporation that seeks to intervene, identify any parent corporation and any
         publicly held corporation owning 10% or more of its stock or state there is
         no such corporation:


      2. If this is an action in which jurisdiction is based on diversity under 28 U.S.C.
         § 1332(a), name and identify the citizenship of every individual or entity
         whose citizenship is attributed to the filing party or intervenor: [To identify
         the citizenship of a partnership, LLC, or other unincorporated entity, a party
         must list the citizenships of all members or partners of that entity. 2]


 2 See Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020,

 1022 (11th Cir. 2004). Where a member of the party is also an unincorporated
 entity, its members must also be identified continuing on through however many
 layers of partners or members there may be. See Purchasing Power, LLC v.
 Bluestem Brands, Inc., 851 F.3d 1218, 1220 (11th Cir. 2017); D.B. Zwirn Special
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    3. Identify each person—including each lawyer, association, firm, partnership,
       corporation, limited liability company, subsidiary, conglomerate, affiliate,
       member, and other identifiable and related legal entity—that has or might
       have an interest in the outcome:


    4. Identify each entity with publicly traded shares or debt potentially affected
       by the outcome:


    5. Identify each additional entity likely to actively participate, including in a
       bankruptcy proceeding the debtor and each member of the creditors’
       committee:


    6. Identify each person arguably eligible for restitution:


         ☐     I certify that, except as disclosed, I am unaware of an actual or
 potential conflict of interest affecting the district judge or the magistrate judge in
 this action, and I will immediately notify the judge in writing within fourteen days
 after I know of a conflict.




                                                     Add name of party or counsel
                                                     If counsel, add name of client
                                                     Add date of signature




 Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 125-27 (1st Cir. 2011).
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 JOSHUA BATTLES,

                      Plaintiff,

 v.                                                     Case No: 6:25-cv-917-RBD-DCI

 AMERICREDIT FINANCIAL
 SERVICES, INC.; and EXPERIAN
 INFORMATION SOLUTIONS INC.,

                      Defendants.


                       Notice of Pendency of Other Actions
       In accordance with Local Rule 1.07(c), I certify that the instant action is related to
 pending or closed civil or criminal case(s) previously filed in this Court, or any other
 Federal or State court, or administrative agency as indicated below:
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________

       I further certify that I will serve a copy of this Notice of Pendency of Other Actions
 upon each party no later than fourteen days after appearance of the party.

 Dated:



 Plaintiff(s)Counsel of Record                           Defendant(s) Counsel of Record
           or Pro Se Party                                     or Pro Se Party
    [Address and Telephone]                                 [Address and Telephone]
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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


 JOSHUA BATTLES,

                        Plaintiff,

 v.                                                   Case No: 6:25-cv-917-RBD-DCI

 AMERICREDIT FINANCIAL
 SERVICES, INC.; and EXPERIAN
 INFORMATION SOLUTIONS INC.,

                        Defendants.


                               Uniform Case Management Report

        The goal of this case management report is to “secure the just, speedy, and
 inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
 3.02(a)(2), this case management report should be used in all civil cases except
 those described in Local Rule 3.02(d). Individual judges may have additional case
 management preferences that can be found under each judge’s name on the
 Court’s website, flmd.uscourts.gov/judges/all.

 1. Date and Attendees

      The parties may conduct the planning conference “in person, by telephone, or by
      comparable means[.]” See Local Rule 3.02(a)(1).

      The parties conducted the planning conference on enter date. Enter names
      attended the conference.

 2. Deadlines and Dates

      The parties request these deadlines and dates:

      Action or Event                                                      Date
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     Deadline for providing mandatory initial disclosures. See Fed. R.
                                                                                Enter a date.
     Civ. P. 26(a)(1).

     Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                Enter a date.
     or amend the pleadings, see Fed. R. Civ. P. 15(a).

     Plaintiff’s deadline for disclosing any expert report. See Fed. R. Civ.    Enter a date.
     P. 26(a)(2).

     Defendant’s deadline for disclosing any expert report.                     Enter a date.

     Deadline for disclosing any rebuttal expert report.                        Enter a date.

     Deadline for completing discovery and filing any motion to compel
                                                                                Enter a date.
     discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

     Deadline for moving for class certification, if applicable. See Fed. R.    Enter a date.
     Civ. P. 23(c).

     Deadline for filing any dispositive and Daubert motion. See Fed. R.
                                                                                Enter a date.
     Civ. P. 56. (Must be at least five months before requested trial date.)

     Deadline for participating in mediation. See Local Rules, ch. 4.
     Enter mediator’s name, address, and phone number.                          Enter a date.



     Date of the final pretrial meeting. See Local Rule 3.06(a).                Enter a date.

     Deadline for filing the joint final pretrial statement, any motion in
     limine, proposed jury instructions, and verdict form. See Local Rule
                                                                                Enter a date.
     3.06(b). (Must be at least seven days before the final pretrial
     conference.)

     Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                Enter a date.
     Rule 3.06(b).

     Month and year of the trial term.                                          Enter a date.


    The trial will last approximately enter number days and be

    ☐ jury.
    ☐ non-jury.

 3. Description of the Action
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    In a few sentences, describe the nature of the action and its complexity.




 4. Disclosure Statement

    ☐ The parties have filed their disclosure statement as required by Federal Rule
    of Civil Procedure 7.1 and Local Rule 3.03.

 5. Related Action

    ☐ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
    notify the judge of a related action pending in the Middle District or elsewhere
    by filing a “Notice of a Related Action.” No notice need be filed if there are no
    related actions as defined by the rule.

 6. Consent to a Magistrate Judge

    “A United States magistrate judge in the Middle District can exercise the maximum
    authority and perform any duty permitted by the Constitution and other laws of the
    United States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer
    any civil matter to a magistrate judge for any or all proceedings, including a non-jury
    or jury trial. 28 U.S.C. § 636(c).

    The Court asks the parties and counsel to consider the benefits to the parties and the
    Court of consenting to proceed before a magistrate judge. Consent can provide the
    parties certainty and flexibility in scheduling. Consent is voluntary, and a party for
    any reason can decide not to consent and continue before the district judge without
    adverse consequences. See Fed. R. Civ. P. 73(b)(2).

    ☐ The parties do consent and file with this case management report a
    completed Form AO 85 “Notice, Consent, and Reference of a Civil Action to a
    Magistrate Judge,” which is available on the Court’s website under “Forms.”
    ☐ The parties do not consent.

 7. Preliminary Pretrial Conference

    ☐ The parties do not request a preliminary pretrial conference before the Court
    enters a scheduling order.
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     ☐ The parties do request a preliminary pretrial conference, and the parties
     want to discuss enter discussion points.




 8. Discovery Practice

     The parties should read the Middle District Discovery Handbook, available on the
     Court’s website at flmd.uscourts.gov/civil-discovery-handbook, to understand
     discovery practice in this District.

     ☐ The parties confirm they will comply with their duty to confer with the
     opposing party in a good faith effort to resolve any discovery dispute before
     filing a motion. See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

 9. Discovery Plan

     The parties submit the following discovery plan under Rule 26(f)(2):

     A.   The parties agree to the timing, form, or requirement for disclosures
          under Rule 26(a):

          ☐ Yes.
          ☐ No; instead, the parties agree to these changes: enter changes.

     B.   Discovery may be needed on these subjects: list the subjects.

     C.   Discovery should be conducted in phases:

          ☐ No.
          ☐ Yes; describe the suggested phases.

     D.   Are there issues about disclosure, discovery, or preservation of
          electronically stored information?

          ☐ No.
          ☐ Yes; describe the issue(s).
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     E.   ☐ The parties have considered privilege and work-product issues,
          including whether to ask the Court to include any agreement in an
          order under Federal Rule of Evidence 502(d).



     F.   The parties stipulate to changes to the limitations on discovery imposed
          under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
          limitations:

           ☐ No.
           ☐ Yes; describe the stipulation.

 10. Request for Special Handling

     ☐ The parties do not request special handling.
     ☐ The parties request special handling. Specifically, describe requested special
     handling.
     ☐ Enter party’s name unilaterally requests special handling. Specifically,
     describe requested special handling.

 11. Certification of familiarity with the Local Rules

     ☐ The parties certify that they have read and are familiar with the Court’s
     Local Rules.

 12. Signatures



  Add name of party or counsel                   Add name of party or counsel
  If counsel, add name of client                 If counsel, add name of client
  Add date of signature                          Add date of signature




  Add name of party or counsel                   Add name of party or counsel
  If counsel, add name of client                 If counsel, add name of client
  Add date of signature                          Add date of signature
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  Add name of party or counsel                   Add name of party or counsel
  If counsel, add name of client                 If counsel, add name of client
  Add date of signature                          Add date of signature
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   AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge


                                             UNITED STATES DISTRICT COURT
                                                            for the

                                                 Middle District of Florida

                                                                )
                           Plaintiff
                                                                )
                              v.                                      Civil Action No.
                                                                )
                                                                )
                                                                )
                         Defendant


    NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

             Notice of a magistrate judge’s availability. A United States magistrate judge of this court is
   available to conduct all proceedings in this civil action (including a jury or nonjury trial) and to order
   the entry of a final judgment. The judgment may then be appealed directly to the United States court
   of appeals like any other judgment of this court. A magistrate judge may exercise this authority only
   if all parties voluntarily consent.

           You may consent to have your case referred to a magistrate judge, or you may withhold your
   consent without adverse substantive consequences. The name of any party withholding consent will
   not be revealed to any judge who may otherwise be involved with your case.

            Consent to a magistrate judge’s authority. The following parties consent to have a United States
   magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and
   all post-trial proceedings.

            Parties’ printed names                      Signatures of parties or attorneys                  Dates




                                                      Reference Order
            IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
   proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed.
   R. Civ. P. 73.


   Date:
                                                                               District Judge’s signature



                                                                                 Printed name and title
  Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
  United States magistrate judge. Do not return this form to a judge.
